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    Markman Presentation for Medicis and Valeant

    ALLERGAN USA, INC., and ALLERGAN INDUSTRIE, SAS,
                         Plaintiffs,
                             v.
            MEDICIS AESTHETICS, INC., et al.,
                        Defendants




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                              Introduction to Dermal Fillers

        Before                                                  After




    • Dermal fillers are one of the most popular, nonsurgical options
      solving problems related to aging skin.
    • Also known as “injectables” or “soft-tissue fillers.”
    • They fill in the area under the skin, making wrinkles less apparent.



Source: http://www.restylaneusa.com/What-is-Restylane/Restylane-Restylane-L, downloaded 6/27/14   2
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                  Collagen Dermal Fillers


                                 • The initial collagen fillers included
                                   Zyderm/Zyplast & Fibrel
                                 • These had numerous shortcomings:
                                    – Potential for allergy to bovine collagen
                                      required skin testing before treatment
                                    – Results lasted 3 months or less
                                    – Human collagen significantly reduces
                                      allergen risk, but doesn’t fix
                                      degradation problem




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                   US Patent App No. 2006/0040894, Hunter
                                 Prior Art Use of HA as Dermal Filler




Source: US Patent App No. 2006/0040894, p. 21, par. 0178                                        4
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                                 Hyaluronic Acid

                                                                             Skin Surface

 HO2C          HO
O          O HO                   O
HC              O                        O
           OH                    NH
                          O
                               OH3




                                                      Hyaluronic acid is naturally
                                                      present in the human body


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               Benefits of Hyaluronic Acid


                                 • Unlike collagen, hyaluronic acid
                                   minimizes the risk of allergic
                                   reactions
                                 • It can bind to large amounts of
                                   water
                                 • Excellent volumizer




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               Benefits of Hyaluronic Acid


                                 • Unlike collagen, hyaluronic acid
                                   minimizes the risk of allergic
                                   reactions
                                 • It can bind to large amounts of
                                   water
                                 • Excellent volumizer
                                 • Crosslinked hyaluronic acid can last
                                   much longer than collagen




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                         Crosslinking Process




Free HA                                          Crosslinked HA


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   Major Crosslinking Agents Used with HA


                                    1,4-butanediol diglycidyl ether
                                    (BDDE)
                                    1,2,7,8-deipoxyoctane
                                    (DEO)
                                    biscabodiimide
                                    (BCDI)
                                    divinyl sulfone
                                    (DVS)




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  Complication of Purely Crosslinked Hyaluronic Acid




Uncrosslinked HA                  Lightly Crosslinked HA              Crosslinked HA
Easy to Inject                    Easy to Inject                      Difficult to Inject




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                 Issues With Crosslinking


                                 • Difficult to inject
                                 • Injections can cause discomfort
                                 • Potential solutions:
                                    – Add uncrosslinked HA
                                    – Use of an anesthetic




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                                     Lebreton Patents-in-Suit
                Unsupported Concern Regarding HA and Lidocaine Product




Source: ‘475 patent, 2:20-27; ‘795 patent, 2:20-27                                                12
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                         5,731,298 Patent, Reinmuller (1998)
                                HA and Lidocaine in the Prior Art




Source: ‘298 patent, 7:1-18                                                                      13
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                 US Patent App. No. 2005/0136122, Sadozai
                                    HA and Lidocaine in the Prior Art




                                                                    …




Source: US Patent App. No. 2005/0136122, p.2, par. 0025
                                                                                                 14
and p. 6, par. 0068
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                 US Patent App. No. 2005/0136122, Sadozai
                                    HA and Lidocaine in the Prior Art




Source: US Patent App. No. 2005/0136122, p. 10, par. 0107                                        15
